              Case 7:23-cr-01581               Document 428         Filed on 09/17/24 in TXSD               Page 1 of 3
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1                                                                                 United States District Court
                                                                                                                 Southern District of Texas

                                           UNITED STATES DISTRICT COURT                                             ENTERED
                                                 SOUTHERN DISTRICT OF TEXAS                                     September 17, 2024
                                                    Holding Session in McAllen                                   Nathan Ochsner, Clerk

         UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                 v.
  CARLOS JOEL VAZQUEZ-SANCHEZ                                        CASE NUMBER: 7:23CR01581-S2-005
                       A/K/A “Chapparo”
                                                                     USM NUMBER: 85038-510

                                                                     Samuel Reyes
                                                                     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s) 11 and 17 on April 25, 2024.
    pleaded nolo contendere to count(s)
     which was accepted by the court.
    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section            Nature of Offense                                                            Offense Ended          Count
18 U.S.C. § 554(a) and     Smuggling goods from the United States.                                         11/01/2023             11
18 U.S.C. § 2
31 U.S.C. § 5332(a),       Bulk cash smuggling.                                                            11/01/2023             17
5332(b)(1), and 18
U.S.C. § 2

☐ See Additional Counts of Conviction.
        The defendant is sentenced as provided in pages 2 through 3         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
 The defendant has been found not guilty on count(s)
 Count(s) 1, 6, 7, 9, and 12 of the Second Superseding Indictment, Counts 5, 6, 10, 11, and 13 of the Superseding Indictment and
Counts 5, 6, 8, 9, and 11 of the Original Indictment, as to this defendant are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                  September 12, 2024
                                                                  Date of Imposition of Judgment


                                                                  ReservedForJudgeSignature
                                                                  Signature of Judge


                                                                  RANDY CRANE
                                                                  CHIEF UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  September     17, 2024
                                                                  ReservedForSignDate
                                                                  Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 2 – Imprisonment
                                                                                                 Judgment — Page   2    of   3
 DEFENDANT:              CARLOS JOEL VAZQUEZ-SANCHEZ
 CASE NUMBER:            7:23CR01581-S2-005

                                                           IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
of: 51 months as to each of Counts 11 and 17, said imprisonment terms to run concurrently with each other.


 See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:

 The defendant is remanded to the custody of the United States Marshal.


 The defendant shall surrender to the United States Marshal for this district:
       at                             on
       as notified by the United States Marshal.


 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       before 2 p.m. on
       as notified by the United States Marshal.
       as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                     to

 at                                                  , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL




                                                                       By
                                                                                         DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 5 – Criminal Monetary Penalties
                                                                                                 Judgment — Page       3     of      3
    DEFENDANT:            CARLOS JOEL VAZQUEZ-SANCHEZ
    CASE NUMBER:          7:23CR01581-S2-005

                                         CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                Assessment               Restitution            Fine                 AVAA Assessment1           JVTA Assessment2
TOTALS          $0.00                    $                      $                    $                          $

☐ See Additional Terms for Criminal Monetary Penalties.
 The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AO 245C) will
  be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                                          Total Loss3       Restitution Ordered        Priority or Percentage
                                                                                 $                         $

 See Additional Restitution Payees.
TOTALS                                                                          $                           $

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       the interest requirement is waived for the  fine  restitution.

       the interest requirement for the  fine  restitution is modified as follows:


     Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be
      effective. Therefore, the assessment is hereby remitted.

1
      Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2
      Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
3
      Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.
